Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 1 of 32 PageID# 31010



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                            ALEXANDRIA DIVISION

  SONY MUSIC ENTERTAINMENT, et al.,

                    Plaintiffs,          Civil No. 1:18-cv-950 (LO / JFA)

              v.

  COX COMMUNICATIONS, INC, et al.,

                    Defendants.


         COX’S POST-TRIAL RESPONSE BRIEF REGARDING DERIVATIVE
                          AND DROPPED WORKS



                                  PUBLIC VERSION
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 2 of 32 PageID# 31011



                                                     TABLE OF CONTENTS

 TABLE OF SUPPORTING DOCUMENTS .................................................................................. ii
 INTRODUCTION .......................................................................................................................... 1
 BACKGROUND ............................................................................................................................ 2
         A.      Evidence Delineating the Works in Suit ....................................................................... 2
         B.      Plaintiffs’ Reliance on Title Matching to Prove Their Liability Case .......................... 5
         C.      Works for Which Plaintiffs Were Awarded Statutory Damages but Were Dropped
                 from Charter.................................................................................................................. 8
 ANALYSIS ..................................................................................................................................... 9
    I.     UNDER THE COURT’S JMOL RULING, 2,370 DERIVATIVE WORKS MUST BE
           REMOVED FROM THE STATUTORY DAMAGES AWARD. ...................................... 9
         A.      Comparing the unique titles on PX-1 and PX-2 shows that 2,220 sound recordings are
                 derivative of compositions in suit. .............................................................................. 11
         B.      For 150 of the non-unique titles, the derivative nature of the sound recording in suit is
                 readily determined using the registration certificates in evidence. ............................. 15
         C.      It is Plaintiffs’ burden to prove that they are entitled to statutory damages for every
                 work in suit. They cannot. .......................................................................................... 19
    II. SIXTY-SEVEN OF THE 88 WORKS THAT PLAINTIFFS DROPPED FROM THE
        CHARTER LITIGATION SHOULD BE REMOVED FROM THIS CASE. ................... 20
    III. THE NUMBER OF WORKS IN SUIT SHOULD BE REDUCED BY ONE TO
         ELIMINATE A DUPLICATE. ......................................................................................... 25
 CONCLUSION ............................................................................................................................. 25




                                                                        i
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 3 of 32 PageID# 31012



                              TABLE OF SUPPORTING DOCUMENTS

     Attachment             Description

     Appendix I             PX-1 (Plaintiffs’ Sound Recordings in Suit)

     Appendix II            PX-2 (Plaintiffs’ Musical Compositions in Suit)

     Schedule 1             Derivative Works with Unique Track Names

     Schedule 2             Non-Derivative Works with Unique Track Names

     Schedule 3             Derivative Works with Non-Unique Track Names

     Schedule 4             Registrations that Cover Multiple Asserted Sound Recordings

     Schedule 5             Works Dropped From Charter For Which Plaintiffs Obtained Statutory
                            Damages in This Case

     Exhibits 1-2370        Plaintiffs’ registration certificates and information from the U.S.
                            Copyright Office’s Public Catalog organized by exhibit number and
     ND Exhibits 1-521      annotated to correspond to Schedule 1, Schedule 2, and Schedule 3

     Exhibit A              Sony Music Entm’t, et al. v. Cox Commc’ns, Inc., et al., Trial Transcript
                            Excerpts

     Exhibit B              Sony Music Entm’t, et al. v. Cox Commc’ns, Inc., et al., November 26,
                            2019 Hearing Transcript Excerpts

     Exhibit C              Reply Report of George P. McCabe, PhD, dated June 19, 2019

     Exhibit D              Report of George P. McCabe, PhD, dated April 10, 2019

     Exhibit E              Warner Records Inc., et al. v. Charter Commc’ns, Inc., 1:19-cv-00874-
                            RBJ-MEH (D. Colo.), February 19, 2020 Hearing Transcript Excerpts

     Exhibit F              Discogs.com entry for album Songs About Jane (10th Anniversary
                            Edition)

     Exhibit G              PX 1437 and PX-7008

     Exhibit H              Discogs.com entry for album Williams on Williams

     Exhibit I              Discogs.com entry for album Frank




 1
     Filed via hard drive, as opposed to ECF, pursuant to ECF 710.


                                                      ii
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 4 of 32 PageID# 31013



  Attachment        Description

  Exhibit J         Discogs.com entry for album Bad Blood

  Exhibit K         PX-7244 and PX-2300

  Exhibit L         Discogs.com entry for album Scissor Sisters




                                           iii
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 5 of 32 PageID# 31014



                                         INTRODUCTION

        Following this Court’s June 2 order, there can be no real dispute that Plaintiffs can claim

 an award of statutory damages for only 7,579 works.

        In its order, the Court directed the parties to propose a final number of works in suit in

 response to (1) the Court’s determination that Plaintiffs may recover only one award for

 overlapping sound recordings and musical compositions and (2) developments in related litigation

 showing that Plaintiffs do not own all the works they have claimed here. ECF 707 at 52.

        As to the first, this Court held that overlapping sound recordings and musical compositions

 count as only one work eligible for a damages award under 17 U.S.C. § 504(c)(1). It then asked

 Cox to “prepare a list of overlapping works in suit,” identifying which sound recordings on PX-1

 correspond to which musical compositions on PX-2. ECF 707 at 52. The Court invited Cox to

 support its proposed number of works with additional documentation “if Cox finds it appropriate.”

 Id.

        Cox presents the results of that analysis here. Cox has identified 2,272 works whose titles

 appear exactly once on both PX-1 and PX-2, and so are presumptively derivative under the Court’s

 order, unless Plaintiffs can “produce sufficient evidence to demonstrate which, if any, pairings or

 groupings should remain separate works.” Id. Cross-checking those 2,272 overlapping works

 against Plaintiffs’ copyright registrations confirms that 2,220 are, in fact, derivative. Plaintiffs

 cannot object to this methodology, for Plaintiffs have endorsed it themselves. Indeed, key

 elements of their liability case turned on the notion that a sound recording is derivative of a

 composition if the titles match and that the registration certificates can resolve any ambiguity.

        For another 150 titles that appear more than once on one or both of PX-1 and PX-2—for

 example, the title “Angel,” which appears four times on PX-1 and three times on PX-2—the




                                                  1
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 6 of 32 PageID# 31015



 overlapping pairs can be confirmed using information from the corresponding registration

 certificates. The total number of derivative works at issue is thus 2,370.

         Second, an additional 67 works must be removed from the suit because Plaintiffs have

 confirmed, in their representations in Warner Records, Inc. et al. v. Charter Communications, Inc.,

 No. 1:19-cv-00874 (D. Colo.) (“Charter”), that they cannot establish ownership over them.

         Third, the number of works in suit should be reduced by one to remove a musical

 composition that Plaintiffs included twice.

         Removing the 2,370 derivative works, the 67 works Plaintiffs dropped from the Charter

 litigation, and one duplicative work—a total of 2,438 works—results in a final number of works

 tally of 7,579.      At $99,830.29 per work, that translates to a total damages award of

 $756,613,767.91.

                                             BACKGROUND

         A.      Evidence Delineating the Works in Suit

         Plaintiffs asserted, and were awarded statutory damages on, 10,017 works. The Record

 Company Plaintiffs asserted 6,734 sound recordings. The Music Publisher Plaintiffs asserted

 3,283 music compositions. There are two primary sources of evidence describing the works in

 suit: Plaintiffs’ own PX-1 and PX-2, which list the asserted sound recordings and music

 compositions, respectively, and approximately 7,000 copyright registration documents relating to

 those recordings and compositions.2




 2
   For ease of reference, Plaintiffs’ PX-1 and PX-2 are attached hereto as Appendix I and Appendix II,
 respectively. The total number of registration certificates exceeds the total number of unique registrations
 because Plaintiffs included on their exhibit list multiple copies of registrations. See, e.g., ECF 280-1 (PX-
 645 and PX-4608, which are both for SR0000330440).


                                                      2
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 7 of 32 PageID# 31016



                  1.       Plaintiffs’ lists of asserted works—PX-1 and PX-2

         The list of asserted sound recordings was admitted as exhibit PX-1. That exhibit identifies

 each asserted sound recording by track title, artist name, and Copyright Office registration number.

 The list of asserted music compositions was admitted as PX-2, which identifies each composition

 by track title and Copyright Office registration number. Plaintiffs represented to the Court that the

 works listed in PX-1 and PX-2 are covered by the corresponding registration certificates identified

 in those exhibits. Cox’s analysis relies on that representation, 3 which was a basis for the Court’s

 decision granting summary judgment to Plaintiffs on both the validity and ownership of the works. 4

 Plaintiffs are thus estopped from now asserting, inconsistently with their previous representations,




 3
   Ex. A (Trial Tr. at 105:20-21) (Plaintiffs’ counsel to Court) (“[PX-1 is] the list of the record companies’
 list of sound recordings in the case.”); id. at 106:12-14 (Kooker Direct) (Q: And do you recognize what’s
 there? A: Yes. This is a list of plaintiffs’ copyrighted sound recordings in this case.”); id. at 156:11-13
 (Kokakis Direct) (“Q: And what is PX 2 at a high level? A: It’s a list of compositions that are subject to
 this litigation.”); id. at 157:7-13 (Kokakis Direct) (“Can you identify a couple tracks that -- and the different
 columns that are shown here, can you go through them very quickly? A: Certainly. It shows the song title,
 which is listed under Track. It shows the corporate entity that owns or controls that composition. And it
 shows the copyright registration number in the third right-hand column.”).
 4
   In support of summary judgment, Plaintiffs submitted declarations in which they represented that their
 works in suit were identified by these registration numbers and the corresponding certificates. See ECF
 325-3 (Leak Decl.), ¶ 5, n.1 (“Each of the Copyrighted Recordings is identified in the Second Amended
 Exhibit A to Plaintiffs’ First Amended Complaint (ECF No. 172).”); see also ECF 325-9 (McMullan
 Decl.)., ¶ 5, n.1 (same); ECF 325-5 (Poltorak Decl.), ¶ 5, n.1 (same); ECF 325-4 (Patel Decl.), ¶ 5, n.1
 (“Each of the Copyrighted Compositions is identified in the Second Amended Exhibit B to Plaintiffs’ First
 Amended Complaint (ECF No. 172-2).”); see also ECF 325-8 (Kokakis Decl.), ¶ 6, n.1 (same); ECF 325-
 10 (Blietz Decl.), ¶ 6, n.2 (same). Plaintiffs also provided the Court with the copyright registration
 certificates (or information from the Copyright Office’s website) for the registration numbers referenced
 on Plaintiffs’ Second Amended Exhibit A and B. See, e.g., ECF 325-3 (Leak Decl.), ¶ 5 (“Appendices
 SME-12 – SME-58, corresponding to paragraphs 12 through 58 of this declaration, contain charts listing
 the 3,231 sound recordings (the “Copyrighted Recordings”) for which the Sony Music Plaintiffs seek to
 recover damages from Defendants for copyright infringement in this litigation. All of the Sony Music
 Plaintiffs’ Copyrighted Recordings have been registered with the U.S. Copyright Office. Appendices SME-
 12 – SME-58 list the starting Bates number for the corresponding registration certificate (or public catalog
 information) produced by Plaintiffs in discovery. In addition, true and correct copies of the registration
 certificates, and/or copyright registration information obtained from the U.S. Copyright Office’s public
 catalogs, are attached to this Declaration as Exhibits SME-12A – SME-58A.”); see also ECF 325-9
 (McMullan Decl.), ¶ 5 (same); ECF 325-5 (Poltorak Decl.), ¶ 5 (same).


                                                        3
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 8 of 32 PageID# 31017



 and the Court’s order on summary judgment, that any of the registration certificates listed in PX-

 1 and PX-2 as corresponding to a particular work in suit do not in fact cover that work.

         Based on Cox’s review, PX-1 and PX-2 include 2,272 overlapping titles—that is, identical

 titles that appear no more than once on PX-1 and no more than once on PX-2. Among many other

 examples, the title “Locked Out of Heaven” appears exactly once on PX-1 and exactly once on

 PX-2. See, e.g., PX-1 (row 5513) and PX-2 (row 3052); see also Schedule 1, Ex. 1083.5

         The titles of some sound recordings and musical compositions appear more than once on

 each of PX-1 and PX-2. For example, PX-1 includes four sound recordings with the title “Angel,”

 and PX-2 lists three musical compositions with that same title. See PX-1, lines 141, 1806, 3575,

 4378; PX-2, lines 197, 904, 959.

                  2.       Copyright registration certificates

         The record also includes more than 7,000 copyright registration certificates—some for

 individual works, others for compilations of songs—admitted as PX-612 through PX-8478. 6

         Sound recording registrations are issued on Form SR, which generally includes at least the

 work title, artist, date of publication, work-for-hire designation, date of first publication, date of



 5
   Schedule 1 is a chart that identifies derivative works with unique titles, that is, titles that appear only once
 on PX-1 and only once on PX-2. For each such work, Schedule 1 identifies the “Track” (the song title
 shared by the recording and composition) as it appears on PX-1, the Artist (as it appears on PX-1), the line
 numbers from PX-1 and PX-2 where the two works are located, the sound and music compositions
 recording registration numbers upon which Plaintiffs relied at summary judgment, and which were admitted
 at trial, the trial exhibit numbers for those registrations, and a brief explanation as to how the sound
 recording and music composition are related (e.g., same recording artist identified on both certificates, same
 album identified on both certificates, etc.). Schedule 1 also references a “Cox Submission Ex. No.,” which
 corresponds to the exhibits on the hard drive Cox submitted in connection with this filing (see ECF 710)
 (the “Cox Hard Drive”). There is an individual folder for each Cox Submission Ex. No. on the Cox Hard
 Drive. Within each folder are Plaintiffs’ trial exhibit registration certificates. The certificates are in turn
 highlighted to reflect information further supporting the derivative nature of the sound recording.
 6
  Ex. A (Trial Tr. 2690:5-2707:18) (colloquy resulting in admission of the exhibits). As the Court’s opinion
 notes, the registrations were provisionally admitted subject to Plaintiffs filing a supplemental pleading
 objecting to the admission of some or all of them. ECF 707 at 50. Plaintiffs filed no such pleading. Id.


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Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 9 of 32 PageID# 31018



 registration, and copyright claimant. There are 1,453 sound recording registrations evidencing the

 6,734 asserted sound recordings. See PX-1 (count of unique registration numbers). The reason

 why there are more sound recordings than registrations is that many of the sound recordings were

 registered together as part of a compilation, with the registration certificate typically listing one or

 more of the album’s constituent tracks and the co-registered songs sharing the same registration

 number. Compare PX-3462 (registration for the album “Iowa” and listing individual tracks) with

 PX-1925 (registration for the sound recording of Mariah Carey’s single “#Beautiful”). 7 A total of

 6,075 sound recordings in suit are registered on the same certificate as another sound recording in

 suit; they are listed on PX-1 with the same registration numbers as other works on the same

 certificate.    See Schedule 4 (identifying 6,075 sound recordings in suit that share a single

 registration number with other sound recordings in suit). 8

           Music composition registrations are issued on form PA, which generally includes work

 title, author, date of first publication, date of registration, work-for-hire designation, and copyright

 claimant.      See, e.g., PX-2943 (registration for the musical composition of Mariah Carey’s

 “#Beautiful”).9

           B.      Plaintiffs’ Reliance on Title Matching to Prove Their Liability Case

           The relationship between the titles of sound recordings and musical compositions was

 central to several aspects of this case, including whether Cox had knowledge that the musical

 compositions were infringed, whether those compositions were in fact infringed, and the number

 of works for which Plaintiffs could claim a separate damage award. In each instance, Plaintiffs


 7
  For ease of reference, these registration certificates can also be located within Cox Submission Ex. No. 1
 & 5, respectively.
 8
  In addition, the final column in Schedule 1 notes whether the sound recording at issue is registered on the
 same certificate as other sound recordings in suit.
 9
     See also Cox Submission Ex. No. 5.


                                                      5
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 10 of 32 PageID# 31019



  demonstrated that the relationship between a sound recording and a musical composition could be

  established by comparing their titles and, where there was any doubt, looking to the registration

  certificates.

          First, Plaintiffs argued that the MarkMonitor infringement notices Cox received

  established knowledge of infringed musical compositions sufficient for summary judgment on

  contributory liability, even though the notices listed only the titles of sound recordings. That was

  so, they said, because “the compositions are contained within sound recordings,” such that notice

  of the sound recording title conveyed notice of the underlying musical composition. Ex. B (Nov.

  26, 2019 Hr’g Tr. at 41:15-42:11); id. at 42:9-11 (“It would be the exact same infringer, the exact

  same date and time, on the exact same network. It would be exactly the same.”). And to establish

  that each of Plaintiffs’ works—including the musical compositions—were subject to the

  infringement notices, Plaintiffs relied at summary judgment on the declaration of their

  infringement expert, George P. McCabe, PhD. ECF 325 at 7-8 ¶ 16. McCabe showed that musical

  compositions were the subject of infringement notices by comparing the titles of musical

  compositions on PX-2 to the titles of sound recordings in the Audible Magic data, turning to the

  registration certificates only to resolve ambiguity stemming from duplicative titles. As McCabe

  put it in his export report, he “reviewed the works in Exhibit B [PX-2] and the Audible Magic Data

  to identify instances where there was only one composition with a particular track title in Exhibit

  B and only one sound recording with same title in the Audible Magic Data, such that [he] could

  make a match using the track title.” Ex. C (McCabe Reply Rpt., June 19, 2019), ¶ 17 (emphasis

  original); see also Ex. D (McCabe Rpt., April 10, 2019), ¶¶ 34-39 (confirming that McCabe’s

  analysis matched the infringement notices to sound recordings listed in PX-1 by “cross-

  referenc[ing] on artist and track” and to compositions by “cross-referenc[ing] on track,” i.e., title)




                                                    6
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 11 of 32 PageID# 31020



  (emphasis in original).    Where there was “ambiguity” in title matching because “some

  compositions share the same title,” McCabe referred to the copyright registrations to

  “disambiguate” the “duplicative titles.” Ex. C (McCabe Reply Rpt., June 19, 2019), ¶¶ 9, 14

  (noting the need to “disambiguate between compositions with the same title”); see also Ex. D

  (McCabe Rpt., April 10, 2019), ¶¶ 40-45.

         Second, at trial, Plaintiffs relied on this same methodology to demonstrate that the musical

  compositions were infringed. They had no choice: it was the only methodology their infringement

  expert ever disclosed. Without McCabe’s title-matching analysis, in the great majority of cases,

  Plaintiffs had no independent evidence that the overlapping compositions were infringed.

         Third, when it came to the number of works, Plaintiffs themselves compared the sound

  recording titles in PX-1 and music composition titles in PX-2 to determine the number of

  “[c]orresponding” works in their proposed trial exhibit PX-38:




  PX-38 (cited in ECF 682 at 12). When Cox relied on that document to support summary judgment

  on the number of works, Plaintiffs did not protest. See ECF 329 at 40; ECF 392 at 38-40. Only

  after relying on McCabe’s title-matching analysis to win summary judgment on the knowledge




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Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 12 of 32 PageID# 31021



  element of contributory infringement did Plaintiffs withdraw exhibit PX-38 and begin representing

  to the Court that the very analysis their own expert had performed was impossible. 10

           C.      Works for Which Plaintiffs Were Awarded Statutory Damages but Were
                   Dropped from Charter

           In its Rule 59 motion, Cox explained that, in the very similar Charter litigation, Plaintiffs

  were ordered by the court to produce ownership documents that were not produced in this case.

  Rather than produce those documents, Plaintiffs amended the Charter complaint to remove from

  consideration more than 400 works, 88 of which were works for which Plaintiffs were awarded

  statutory damages in this case.11 Alerted to evidence that some percentage of the works in suit

  might have ownership, registration, or chain-of-title problems, the Charter court pressed Plaintiffs’

  counsel on Plaintiffs’ ability—or lack thereof—to prove ownership of each individual work in suit:

           Is it acceptable in a federal court after a jury renders a verdict that there may be a 5
           percent – I’m going to throw out a number, a 5 percent rate that the collective
           plaintiffs had no right to the works so that that's $50 million? Is that an acceptable
           way to proceed in federal court in a damages case, that you get that $50 million,
           even though as a technical matter you weren’t entitled to it? Is that proper?

  Ex. E (Charter, Feb. 19, 2020 Hr’g Tr.) at 27:22-28:4. Following up on its own question, the

  Charter court pointedly asked Plaintiffs’ counsel Mr. Oppenheim whether he believed that “every


  10
    At trial, asked by the Court to explain why Cox witness Christian Tregillis could not just “add up the
  number of sound recordings and musical compositions,” Plaintiffs’ counsel successfully precluded the
  Tregillis testimony by arguing, in part, that Tregillis’ review of only PX-1 and PX-2 meant that he had “not
  looked at the underlying registration[s], [so] he can’t do that analysis.” Ex. A (Trial Tr. 2697:6-18). But
  as counsel knew, Plaintiffs’ expert McCabe had done precisely “that analysis,”

                                              See supra at 7. Later, in opposing Cox’s motion for JMOL,
  Plaintiffs argued that “there are simply too many separate musical compositions that happen to have the
  same title to have any certainty” as to which recordings derive from which compositions without going
  outside the record evidence. ECF 699 at 17, n.10. As Plaintiffs knew from McCabe’s analysis,
                                                          See Ex. D (McCabe Rpt., Apr. 10, 2019), ¶¶ 42-43
  (noting that
                                                        ); see also id., ¶ 37
                            .
  11
       Charter, ECF 111.


                                                       8
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 13 of 32 PageID# 31022



  plaintiff that prevailed in the [Cox] case …was the correct legal entity having the correct legal

  ownership right and [was] entitled to” statutory damages on every work in suit. Id. at 30:6-12.

  After several attempts to avoid answering directly, Mr. Oppenheim finally admitted that “I can’t

  answer that question.” Id. at 31:2.

           The Court’s JMOL order invited Cox to identify which, if any, of the works dropped from

  the Charter case were not properly before this Court. ECF 707 at 52. Cox has identified 88 works

  for which Plaintiffs received statutory damages in this case but which—when pressed for proof of

  ownership—Plaintiffs dropped from the Charter litigation. Those works are listed in Schedule 5.

                                               ANALYSIS

  I.       Under the Court’s JMOL Ruling, 2,370 Derivative Works Must Be Removed from
           the Statutory Damages Award.

           It is undisputed that Plaintiffs’ works in suit include derivative works. Under the Court’s

  order and Section 504(c)(1), Plaintiffs are not entitled to statutory damages for those works. The

  only questions are how many overlapping works are reflected in the record evidence, and whether

  Plaintiffs can carry their burden to “produce sufficient evidence to demonstrate which, if any,

  pairings or groupings should remain separate works” for purposes of statutory damages. ECF 707

  at 52.

           Per the Court’s request, Cox has “prepare[d] a list of overlapping works in suit, identifying

  which copyrights in PX 1 correspond with which copyrights in PX 2” and accounting for “[e]ach

  of the 10,017 copyrights asserted at trial.” ECF 707 at 52. That list is contained within Schedule

  1, Schedule 2, and Schedule 3.

           Schedule 1 lists 2,220 works whose unique titles overlap—that is, works that appear

  exactly once on PX-1 (sound recordings) and exactly once on PX-2 (musical compositions), and




                                                     9
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 14 of 32 PageID# 31023



  for which Plaintiffs’ registration certificates either confirm or support the conclusion that the sound

  recording is derivative of the musical composition.12

            Schedule 2 lists 52 works whose unique titles overlap but where Cox has determined that

  the sound recordings in suit are not derivative of the musical compositions in suit bearing the same

  unique title13 That these sound recordings are not derivative of the music compositions in suit

  bearing the same title is evident from registration certificates in all but two instances, 14 and for

  those two instances the certificate is consistent with the conclusion that the sound recording is not

  derivative of the musical composition in suit bearing the same unique title. 15 Because these sound

  recordings are not derivative of the music compositions in suit bearing the same title, Cox does

  not include them in its count of derivative works.




  12
     For certain of Plaintiffs’ works in suit, Plaintiffs did not include registration certificates on their trial
  exhibit list, or included a certificate that was incorrect or incomplete. Cox has obtained correct and
  complete copies of these certificates from the Copyright Office’s website and requests the Court take
  judicial notice of them or, in the alternative, rely on the summary judgment record. Plaintiffs relied upon
  these certificates, either by attaching or referencing the certificate’s registration number, in support of their
  motion for summary judgment. The Court has previously taken judicial notice of these types of documents,
  ECF 467, and separately noted that the registrations upon which Plaintiffs relied for summary judgment are
  a part of the record. ECF 707 at 50-51. The documents of which Cox requests the Court take judicial notice
  are contained in Cox Submission Ex. Nos. 113, 174, 222, 299, 303, 346, 384, 386, 389, 514, 549, 552, 566,
  781, 825, 844, 871, 977, 1006, 1038, 1095, 1168, 1222, 1236, 1250, 1273, 1587, 1696, 1777, 1815, 1848,
  1867, 1879, 1903, 1937, 1972, 2024, 2084, 2219, 2282, and 2285.
  13
     Certificates demonstrating these non-derivative (“ND”) title matches are contained on the Cox Hard
  Drive with the prefix “ND Ex.,” and correspond to the ND Ex. No. listed on Schedule 2. In some instances,
  Cox relies on registration information from the U.S. Copyright Office’s website to demonstrate that these
  sound recordings are not derivative of the music compositions in suit bearing the same title. The
  information from the U.S. Copyright Office’s website for which Cox seeks the Court take judicial notice is
  located within the following exhibits: ND Ex. 3, 4, 7, 8, 10, 13, 15, 19, 25, 26, 33, 37-40, and 49.
  14
    Schedule 2 includes a brief description of how the registration certificates demonstrate that the sound
  recording is not derivative of the music composition bearing the same title, either because there is a different
  musical composition certificate for the sound recording in suit or because the first publication date listed
  on the sound recording registration is significantly earlier than the first publication date listed on the musical
  composition certificate, among other stated bases.
  15
       See, e.g., Schedule 2, ND Ex. 23 & 31.


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Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 15 of 32 PageID# 31024



          Schedule 3 lists 150 non-unique overlapping titles—that is, works whose titles appear more

  than once on PX-1, PX-2, or both. For these, the registration certificates also confirm that the

  sound recordings are derivative of the musical compositions. See Schedule 3.16

          Together, then, the record evidence includes 2,370 sound recordings that are derivative of

  musical compositions in suit and must be cut from the total number of works eligible for awards

  of statutory damages (the total of Schedule 1 and Schedule 3). Plaintiffs cannot carry their burden

  to “produce sufficient evidence to demonstrate which, if any, pairings or groupings” Cox has

  identified here “should remain separate works” for purposes of statutory damages. ECF 707 at 52.

          A.      Comparing the unique titles on PX-1 and PX-2 shows that 2,220 sound
                  recordings are derivative of compositions in suit.

          As the Court’s order suggests, “prepar[ing] a list of overlapping works in suit” requires

  “identifying which copyrights in PX 1 correspond with which copyrights in PX 2.” ECF 707 at

  52. Accordingly, for the track titles that appear only once on PX-1 and once on PX-2, Cox has

  compared the “copyrights in PX 1” to the “copyrights in PX 2” and determined that 2,220 sound

  recordings in suit are derivative of music compositions in suit bearing the same title. Plaintiffs are

  in no position to dispute this because their own liability case depended upon unique-title-matching

  of exactly this kind. And in any event, for 95% of the title matches, the corresponding registration




  16
     There are three additional non-unique derivative works that Cox cannot confirm utilizing PX-1, PX-2,
  and Plaintiffs’ registration certificates. Though these sound recordings in suit are in fact derivative of the
  music compositions in suit, Cox is not counting them here. For reference, those works are: “Devour,” by
  Shinedown, listed on PX-1 at line 5862, which is derivative of the musical composition with the same title
  listed on PX-2 at line 506; “I Want You,” by CeeLo Green, listed on PX-1 at line 6029, which is derivative
  of the musical composition with the same title listed on PX-2 at line 239; “Someone Like You,” by Boys
  Like Girls, listed on PX-1 at line 943, which is derivative of the musical composition with the same title
  listed on PX-2 at line 135.


                                                       11
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 16 of 32 PageID# 31025



  certificates confirm that the works are derivative. Of the remaining 5%, the certificates of the

  unique pairs are consistent with the conclusion that the works are derivative.

                  1.      The “list of overlapping works in suit” identifies 2,272 unique
                          compositions that overlap with exactly one asserted recording.

          Cox performed the comparison called for by the Court’s order, cross-referencing the titles

  that appear exactly once in PX-2 against the titles that appear exactly once in PX-1 and determining

  those sound recordings in suit that are derivative of the music composition in suit bearing the same

  title. The resulting list, which is attached as Schedules 1 and 2, reveals an overlap of 2,272 unique

  sound recordings, of which 2,220 are derivative of musical compositions that share the same title.

  See Schedule 1.17

          The following example is illustrative. The sound recording “Locked Out of Heaven”

  appears once in PX-1, at line 5513, listing Bruno Mars as the artist, Atlantic Recording Corp. as

  the plaintiff owning the registration, and a registration number of SR0000715738.

                           Fig. 1 – Excerpt from PX-1 (Sound Recordings)




          The musical composition “Locked Out of Heaven” appears once in PX-2, at line 3052,

  listing various Warner entities as the plaintiffs owning the registration and a registration number

  of PA0001869823.




  17
    As noted above, the 52 titles that appear exactly once on PX-1 and exactly once on PX-2, for which Cox
  has determined the sound recording in suit is not derivative of the music composition in suit bearing the
  same title, are listed on Schedule 2.


                                                     12
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 17 of 32 PageID# 31026



                        Fig. 2 – Excerpt from PX-2 (Music Compositions)




         Because there is exactly one track titled “Locked Out of Heaven” on each of PX-1 and PX-

  2, the sound recording “Locked Out of Heaven” on PX-1 and the musical composition “Locked

  Out of Heaven” on PX-2 are “overlapping works in suit” for purposes of the Court’s order.

  Schedule 1 lists 2,220 overlapping works in the following format:

                                 Fig. 3 – Excerpt from Schedule 1




  Schedule 1, at Ex. 1083.

         Plaintiffs have no basis to dispute that a sound recording whose title appears exactly once

  on PX-1 is derivative of the musical composition whose matching title also appears exactly once

  on PX-2. As discussed above, they did not dispute it in opposing Cox’s motion for summary

  judgment, their own infringement expert relied on precisely the same inference in his infringement

  analysis, and their lead counsel relied on it to argue (successfully) that Plaintiffs’ infringement

  notices for the recordings also provided notice as to the corresponding compositions. See supra at

  5-8.

         The overlap of unique titles between PX-1 and PX-2, together with Plaintiffs’ consistent

  reliance on that overlap to prove their infringement case for the compositions, is more than

  sufficient to establish a prima facie case that the overlapping works are derivative and thus are

  “one work” for purposes of statutory damages.




                                                  13
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 18 of 32 PageID# 31027



                  2.      The derivative nature of 2,220 of those overlapping unique works is
                          confirmed by the corresponding copyright registration certificates.

          Cox need not make any additional showing to further confirm that the uniquely overlapping

  titles are derivative; Plaintiffs, after all, did not. But if additional evidence were necessary, it can

  be found in the registration certificates for the overlapping works.

          As Schedule 1 demonstrates, for 2,119 of the 2,220 unique titles that Cox has determined

  are overlapping, the corresponding registration certificates conclusively confirm that the sound

  recording is derivative of the musical composition—generally by confirming that the two works

  share the artist, album, ownership information, or publication date. The “Link” column in

  Schedule 1 identifies the certificate information that confirms the overlap. The case of “Locked

  Out of Heaven” is again exemplary. For that title, both the sound recording registration certificate

  and musical composition registration certificate associated with that title in PX-1 and PX-2,

  respectively, show that the artist and author of the work is Bruno Mars, that the song is associated

  with the album “Unorthodox Jukebox,” and that the date of first publication was December 11,

  2012. See Schedule 1, Ex. 1083 (compare PX-3305 (sound recording registration) with PX-3651

  (musical composition registration)).

          For the remaining 101 overlapping unique titles, the certificates are at least consistent with

  the conclusion that the unique overlapping titles are the same “work.” That is, the musical

  composition certificate includes the title of the corresponding sound recording, and includes no

  information to suggest that the sound recording is not derivative of the composition. Indeed, in

  many instances, the first publication dates for the sound recording and musical composition are in

  close proximity to one another. See, e.g., Schedule 1, Ex. 662 (compare PX-1931, which is the

  registration certificate for sound recording “Give A Little More,” by the band Maroon 5, with a

  first publication date of August 17, 2010, with PX-2946, which is the registration certificate for



                                                    14
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 19 of 32 PageID# 31028



  the musical composition “Give A Little More,” with a first publication date of September 21,

  2010). In contrast, for the 52 other overlapping titles for which Cox’s examination of the

  certificates revealed that the sound recording is not derivative of the music composition, Cox

  excluded those titles from its calculation of derivative works, as noted above. 18

          To the extent that Plaintiffs can produce evidence sufficient to demonstrate that other

  overlapping unique titles may be separate works, they would be entitled to retain the damages for

  such works. Unless and until Plaintiffs produce such evidence, however, the overlap of unique

  titles on both PX-1 and PX-2, together in most cases with the corresponding registration

  certificates, establishes that 2,220 of the sound recordings in suit are derivative of the composition

  with the same title, making the two a “single work” under Section 504(c)(1). The Plaintiffs

  recovered twice for each of those “single works,” in violation of the damages limitation imposed

  by the statute. The Court should remove those 2,220 works from the statutory damages calculation.

          B.      For 150 of the non-unique titles, the derivative nature of the sound recording
                  in suit is readily determined using the registration certificates in evidence.

          For recordings and compositions that do not share a unique title—that is, for which the

  same title occurs more than once on either PX-1, PX-2, or both—the correspondence between a




  18
    For example, there is exactly one sound recording in suit and exactly one music composition in suit titled
  “Animal.” See PX-1 (row 3942) and PX-2 (row 1572). The certificate for the sound recording “Animal”
  states that it is recorded by Ellie Goulding and references her album “Bright Lights (Deluxe). See Schedule
  2, ND Ex. 3 (PX-7971). The certificate for the music composition “Animal” states that it was contained on
  a Pearl Jam album. Id. (PX-4264). Thus, the certificates offer reason to believe that the two tracks titled
  “Animal” may not refer to the same underlying work. Although the certificates do not dispositively
  establish that the works are unrelated—and although it is Plaintiffs’ burden, not Cox’s, to prove that they
  are entitled to statutory damages on each work—Cox took a conservative approach and excluded “Animal”
  from its list of derivative works. Cox has also confirmed that there is a separate copyright certificate for
  the musical composition “Animal,” authored by Ellie Goulding, which is not a work in suit, (see id.
  (PA0001786670)), further confirming that the sound recording in suit titled “Animal” by Ellie Goulding is
  not derivative of the music composition in suit titled “Animal” by Pearl Jam.


                                                      15
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 20 of 32 PageID# 31029



  particular composition and a particular sound recording is readily demonstrated by cross-

  referencing PX-1 and PX-2 with the corresponding registration certificates.

           For example, there are four asserted sound recordings and three asserted musical

  compositions with the track title “Angel”:

                                                Fig. 4

               Sound Recordings (PX-1)                        Musical Compositions (PX-2)
   Title       Artist    Reg. #                PX-1      Title        Reg. #         PX-2
                                               Line                                  Line
   “Angel”     Dave        SR0000300313        141       “Angel”      PA0001738403 197
               Matthews
               Band
   “Angel”     Jennifer    SR0000674220        1806      “Angel”       PA0001046461 904
               Hudson
   “Angel”     Aerosmith   SR0000085369        3575      “Angel”       PA0000342822 959
   “Angel”     Jack        SR0000653690        4378
               Johnson

           The relationship between any of the “Angel” sound recordings and any of the “Angel”

  compositions is evidenced by a simple cross-reference to the associated registration certificates.

  For instance, a review of the registration certificate for the Dave Matthews Band recording

  “Angel” (SR0000300313, reproduced in Figure 5 below) and the registration certificate for the

  musical composition “Angel” (PA0001046461, reproduced in Figure 6 below) show that they have

  same title (“Angel”), performing artist (“Dave Matthews Band”), and first publication date

  (February 27, 2001). See Ex. 2221 (compare PX-7115 (sound recording certificate) with PX-4591

  (musical composition certificate)).




                                                 16
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 21 of 32 PageID# 31030



                                  Fig. 5 – Excerpt from PX-7115




                                  Fig. 6 – Excerpt from PX-4591




         The overlap of the performer (the Dave Matthews Band) and date of first publication

  (February 27, 2001) demonstrates that the asserted Dave Matthews Band recording is derivative

  of the asserted composition bearing the same title.

         The same method shows that the Aerosmith sound recording “Angel” (registered on

  certificate SR0000085369, reproduced as Figure 7 below) derives from the musical composition

  “Angel” (registered on certificate number PA0000342822, reproduced as Figure 8 below):




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Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 22 of 32 PageID# 31031



                                    Fig. 7 – Excerpt from PX-6858




                                    Fig. 8 – Excerpt from PX-4204




  Once again, the musical composition certificate confirms that the composition “Angel” was

  performed by Aerosmith, directly linking that composition to the sound recording “Angel” listed

  at line 3575 of PX-1 and registered on certificate number SR0000085369. See Ex. 2222 (compare

  PX-6858 (sound recording certificate) with PX-4204 (musical composition certificate)). 19




  19
    The other two sound recordings titled “Angel,” by Jennifer Hudson and Jack Johnson, respectively, do
  not appear to correspond to any asserted musical compositions, so far as can be discerned from the record


                                                     18
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 23 of 32 PageID# 31032



          This analysis applies to 150 of the asserted recordings that cannot be definitively identified

  as derivative using just PX-1 and PX-2. Schedule 3 sets forth the 150 non-unique sound recordings

  that are derivative of a composition in suit and identifies the registration evidence that

  demonstrates the derivative relationship.

          For the three remaining works with non-unique titles, registration information alone does

  not confirm the correspondence between the asserted sound recording and the asserted musical

  composition. See supra n.16. Although publicly available information about the songwriter shows

  that the recordings are indeed derivative of the compositions, and although it is Plaintiffs’ burden

  to show separate status, Cox has excluded these three works from its list of derivative works.

          C.      It is Plaintiffs’ burden to prove that they are entitled to statutory damages
                  for every work in suit. They cannot.

          As the Court correctly instructed the jury, “Plaintiffs have the burden of proving their case

  by a preponderance of the evidence.” ECF 671 at 10. Plaintiffs elected to pursue statutory

  damages, which are available only “with respect to any one work.” 17 U.S.C. § 504(c)(1). To

  prevail, Plaintiffs bore the burden of proving not only infringement but also the number and

  identity of “works” eligible for statutory damages under Section 504(c)(1).

          Here—and as this Court has already recognized in its JMOL Order—it is ultimately

  Plaintiffs’ burden “to produce sufficient evidence to demonstrate which, if any, pairings or

  groupings [of works in suit] should remain separate works under 17 U.S.C. §504(c)(1).” 20 ECF

  707 at 52; see also EMI Christian Music Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79, 101 (2d Cir.




  evidence. Cox therefore does not submit that those two sound recordings are derivative of any music
  composition in suit, and (for purposes of this brief only) does not object to their inclusion in the case.
  20
     Because the ultimate burden on this issue lies with Plaintiffs, and Cox has not yet seen the evidence (if
  any) on which Plaintiffs will rely to meet that burden, Cox may seek leave to file a reply brief if necessary
  to challenge that evidence.


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Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 24 of 32 PageID# 31033



  2016) (placing the burden on the copyright owner to show that works are separate as opposed to

  parts of compilations).

         For all the reasons already given, Plaintiffs cannot meet that burden.         They cannot

  challenge Cox’s methodology because they used the same method to make their case for liability:

  they relied on unique title-matching to prove that Cox had knowledge of, and was liable for, its

  subscribers’ infringement of compositions. Supra at 5-8. Indeed, they insisted that only where

  PX-1 and PX-2 had multiple title matches was it necessary to look for additional information to

  discern the overlap. Cox is also relying on Plaintiffs’ methodology—and their own registration

  certificates—to establish the derivative status of 150 non-unique titles and to confirm that that

  2,220 unique overlapping pairs that Cox has identified include a derivative work. Because

  Plaintiffs cannot carry their burden of proof, the number of works in the statutory damages

  calculation must be reduced by 2,370.

  II.    Sixty-Seven of the 88 Works That Plaintiffs Dropped from the Charter Litigation
         Should Be Removed from This Case.

         Based on Cox’s review of the docket in Charter, Plaintiffs received statutory damages in

  this case for 88 works that they dropped from Charter after they were asked to produce ownership

  and related documentation that they did not produce in this case (the “Dropped Works”). Those

  works fall into two categories: (A) 50 works for which there is affirmative evidence that Plaintiffs

  do not own them, or for which there is insufficient proof of copyright validity and ownership in

  the record, and (B) 38 works that the Court can infer were dropped based on lack of ownership

  absent sufficient countervailing evidence.

         Of the 88 works dropped from Charter but claimed here, there is affirmative evidence that

  Plaintiffs do not own 50 of them, or did not adduce sufficient evidence on summary judgment to

  establish their ownership.



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Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 25 of 32 PageID# 31034



                   The Charter plaintiffs dropped “I Always Get What I Want,” by Avril Lavigne.

                    See Schedule 5, row one.21 Plaintiffs in this case claim the work is registered on

                    the U.S. Copyright Office certificate with the registration number SR0000332312.

                    See ECF 325-3 (Leak Decl.), ¶ 19. But that certificate is for the album “Under My

                    Skin,” which does not contain the track “I Always Get What I Want.” 22

                   The Charter plaintiffs dropped nine sound recordings by the group Maroon 5. See

                    Schedule 5, rows 36-41, 43-45. Plaintiffs in this case claim the works are registered

                    on the U.S. Copyright Office certificate with the registration number

                    SR0000702833. ECF 325-9 (McMullan Decl.), ¶ 24. However, that certificate is

                    for “Songs About Jane (10th Anniversary Edition),” 23 a registration from which

                    these particular recordings appear to be excluded, as they are included on “CD 1”

                    of the two-CD set and were previously registered on a separate certificate. 24

                   The Charter plaintiffs dropped “Sweetest Goodbye,” by Maroon 5. See Schedule

                    5, row 42. Plaintiffs in this case claim the work is registered on the U.S. Copyright

                    Office certificate with the registration number SR0000664148.                ECF 325-9

                    (McMullan Decl,), ¶ 24. But that certificate is for a “live” version of this track,




  21
    Schedule 5 identifies the works the Charter plaintiffs dropped but for which Plaintiffs received statutory
  damages in this case. Schedule 5 includes the information from PX-1 and PX-2 in addition to a reference
  to the Charter plaintiffs’ original list of works in suit (Charter, ECF 1-1 and 1-2). These works are missing
  from the Charter plaintiffs’ amended list of works in suit (Charter, ECF 111-1 and 111-2). For ease of
  reference, attached as Appendix 1 and Appendix 2 to Schedule 5 are the Charter plaintiffs’ original and
  amended lists of works in suit.
  22
       See PX-7193. For ease of reference, PX-7193 is also contained within Ex. 817.
  23
       See PX-1932. For ease of reference, PX-1932 is also contained within Ex. 1243.
  24
    Ex. F (https://www.discogs.com/Maroon-5-Songs-About-Jane-10th-Anniversary
  Edition/release/8077928).


                                                       21
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 26 of 32 PageID# 31035



                     which was first published in 2012.25 The studio version of this song, for which

                     Plaintiffs apparently sue,26 was first published in 2002.

                    The Charter plaintiffs dropped “The Imperial March from the Empire Strikes

                     Back,” by John Williams. See Schedule 5, row 29. Plaintiffs in this case claim the

                     work is registered on the U.S. Copyright Office certificate with the registration

                     number SR0000233783. ECF 325-3 (Leak Decl.), ¶ 28. Yet that certificate is for

                     “Williams on Williams: The Classic Spielberg Scores,” 27 an album on which this

                     track does not appear.28

                    The Charter plaintiffs dropped “Someone to Watch Over Me,” by Amy Winehouse.

                     See Schedule 5, row 30. Plaintiffs in this case claim the work is registered on the

                     U.S. Copyright Office certificate SR0000614121. ECF 325-9 (McMullan Decl.),

                     ¶ 20. This certificate is for the album “Frank.”29 However, “Someone to Watch

                     Over Me” is not included on this version of the album. 30

                    The Charter plaintiffs dropped “Bad Blood (Live Piano Version),” by the band

                     Bastille. See Schedule 5, row 31. Plaintiffs in this case claim the work is registered

                     on the U.S. Copyright Office certificate SR0000753441. ECF 325-9 (McMullan




  25
       See PX-1937. For ease of reference, PX-1937 is also contained within Ex. 1784.
  26
     Plaintiffs do not identify “Sweetest Goodbye (live)” on PX-1. Further, in reviewing Plaintiffs’ data of
  alleged infringement, the “live” version of this track does not appear.
  27
       See PX-1437 and PX-7008. For ease of reference, these trial exhibits are attached hereto as Exhibit G.
  28
    Ex. H (https://www.discogs.com/John-Williams-4-The-Boston-Pops-Orchestra-Williams-On-Williams-
  The-Classic-Spielberg-Scores/master/1226921).
  29
       See SR0000613567, which is contained within Ex. 1696.
  30
       See Ex. I (https://www.discogs.com/Amy-Winehouse-Frank/release/716019).


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Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 27 of 32 PageID# 31036



                     Decl.), ¶ 23. That certificate is for the U.S. version of the album “Bad Blood,”31

                     on which “Bad Blood (Live Piano Version)” does not appear. 32

                    The Charter plaintiffs dropped “Get It Get It,” by the Scissor Sisters. See Schedule

                     5, row 46. Plaintiffs in this case claim the work is registered on the U.S. Copyright

                     Office certificate SR0000355220. ECF 325-9 (McMullan Decl.), ¶ 19. That

                     certificate is for the album “Scissor Sisters,” 33 on which this track does not appear.34

                    The Charter plaintiffs dropped 26 sound recordings by the group Bone Thugs-n-

                     Harmony. See Schedule 5, rows 3-28. In this case, on summary judgment,

                     Plaintiffs claimed that Sony Music Entertainment




                                                                  ECF 325-3 (Leak Decl.), ¶ 49.           The

                     referenced Distribution Agency Agreement, however,

                     See id., Ex. SME-49B (SME_00000361 & SME_00000357). Plaintiffs have never

                     produced any evidence establishing continuing rights to these works, up to and

                     including the period during which Plaintiffs claim Cox’s subscriber(s) infringed

                     these works.




  31
       See PX-2147. For ease of reference, PX-2147 is contained within Ex. 152.
  32
       See Ex. J (https://www.discogs.com/Bastille-Bad-Blood/release/4879295).
  33
       See PX-7244 and PX-2300. For ease of reference, these trial exhibits are attached hereto as Exhibit K.
  34
       Ex. L (https://www.discogs.com/Scissor-Sisters-Scissor-Sisters/release/10436828).


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Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 28 of 32 PageID# 31037



                The Charter plaintiffs also dropped nine music compositions asserted by Universal

                 Music Corporation in this case. See Schedule 5, rows 75-79, 81-83, and 86. In this

                 case, on summary judgment, Plaintiffs claimed that




                                                              ECF 325-8 (Kokakis Decl.), ¶ 59.

                                                                                               Id., Ex.

                 UMPG-59B (UMPG_00003957).

                                                                         . Id. Plaintiffs produced no

                 evidence to show that                                  . Without such evidence, the

                 administration agreement on its face demonstrates that the agreement is no longer

                 in force, depriving “UMC” of the rights that it claimed at summary judgment.

                 Plaintiff has not met its burden of showing its continued ownership of the rights to

                 these works.

         The remaining 38 Dropped Works should be excluded here, too. The fact that Plaintiffs

  withdrew them in Charter after being prompted for proof of ownership strongly suggests that

  Plaintiffs do not own them. It is Plaintiffs’ burden to prove the contrary. If they cannot do so, all

  88 Dropped Works should be removed from the damages calculation here. Because 21 of those

  Dropped Works are also derivative works included in the analysis in Section I above, they should

  not be counted twice; thus, if the Court agrees to remove all 2,370 derivative works, the total

  number of Dropped Works that must be removed from the damages award is 67.




                                                   24
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 29 of 32 PageID# 31038



  III.   The Number of Works in Suit Should Be Reduced by One to Eliminate a Duplicate.

         Finally, the total actual number of works asserted in this case is only 10,016, as opposed to

  the 10,017 that went to the jury. As evidenced by rows 3031 and 3032 on Plaintiffs’ PX-2,

  Plaintiffs listed the musical composition “Shine” twice. The second listing appears to be a

  duplicate, as the Track, asserting Plaintiffs, and registration number are identical. Thus, Plaintiffs’

  verdict should be reduced by this one “work” as well. Cox’s final count excludes it.

                                            CONCLUSION

         The analysis set forth herein is straightforward, consisting entirely of manual comparisons

  of PX-1, PX-2, and the registration certificates for the works in suit. That analysis demonstrates

  that 2,370 works in suit are derivative of other asserted works, and so are not eligible for statutory

  damages under the Court’s order and Section 504(c)(1). Removal of the Dropped Works for which

  Plaintiffs lack proof of ownership or registration eliminates an additional 67 works, accounting for

  the fact that some of the Dropped Works are derivative and, therefore, already excluded by Cox’s

  analysis. The total number of works to be removed from the damages award under the Court’s

  order is thus 2,438, leaving 7,579 works in suit that are eligible for statutory damages.

         Applying the per-work award of $99,830.29 to the 7,579 remaining works in suit, the

  statutory damages award should be reduced from $1 billion to $756,613,767.91.



  Dated: August 3, 2020                                  Respectfully submitted,

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                                                    25
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 30 of 32 PageID# 31039



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                                          26
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 31 of 32 PageID# 31040



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                                       27
Case 1:18-cv-00950-LO-JFA Document 711 Filed 08/03/20 Page 32 of 32 PageID# 31041



                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 3, 2020, the foregoing was filed and served electronically
  by the Court’s CM/ECF system upon all registered users.


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